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                                  UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF FLORIDA

In re:                                                      Case No.: 15-28607-JKO
                                                            CHAPTER 7
HOSTE, GARY FRANCIS

                 DEBTOR(S)                /

         TRUSTEE’S MOTION TO COMPEL AND FOR SANCTIONS AGAINST DEBTOR
                             AND DEBTOR’S COUNSEL

         TRUSTEE, SONYA L. SALKIN, hereby files this Motion to Compel and for Sanctions

Against Debtor and Debtor’s Counsel and states as follows:

         1. The Debtor’s initial 341 Meeting of Creditors was conducted on November 23, 2015.

         2. The meeting was attended by attorneys, Christian D. Posada, Esq. for Shochet Law

Group and Mark W. Rickard, Esq. for Law Guard representing creditors.

         3. At that hearing, after questioning by the Trustee and the Mr. Rickard, the matter was

continued to December 6, 2015 at 11:30.

         4. The purpose of the continuance was to allow the Debtor to provide documentation

and to answer further questions concerning numerous undisclosed assets and transfers, the

least of which was the location of $325,000 of purchased gold and other precious metals which

had been located through subpoena to APMEX, Inc. None of which was disclosed in the

schedules.

         5. The continued 341 hearing was properly noticed.

         6. Neither debtor nor debtor’s counsel, Matthew R. McGuigan, appeared.

         7. Trustee called Debtor’s counsel from the 341 meeting room on the record. He

responded that the Debtor did not appear because Debtor needed more time to get the

documents together. He stated that he had sent the Trustee an email the morning of the 341

hearing advising that he would not be in attendance.

         8. Trustee has searched all email addresses and has not located Debtor’s counsel
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email. Besides which, she was already in 341 hearings when counsel proposes that the email

was sent. No attempt was made by Debtor’s counsel to call the Trustee’s office.

       9. As a result, both attorneys and the Trustee incurred time and expense to attend a 341

meeting, where both debtor and his counsel chose to not attend.

       10. Mr. Posada incurred 4 hours at $250.00 per hour, Mr. Rickard incurred 2 hours at

$400.00 per hour, as evidence by their attached affidavits. Exhibits A and B.


       WHEREFORE, the Trustee respectfully requests that this Court enter an Order

Awarding Fees from Debtor’s counsel, Matthew R. McGuigan, to cover creditor’s counsel’s fees,

compel the Debtor to attend the continued 341 hearing on January 7, 2016 at 11:30 and

produce the documents concerning the location of all gold and precious metals purchased over

the last fifteen years and other documents requested by the Trustee.



                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing Motion to Compel was

mailed to the debtor, Gary Francis Hoste, 711 Bay Shore Drive, Apt 302, Fort Lauderdale, FL

33304, emailed and mailed debtor’s counsel Matthew R. McGuigan, 2110 NW 110th Lane,

Pompano Beach, FL 33071; attorneys for creditors Christian D. Posada, 3900 Woodlake Blvd.,

Suite 202, Greenacres, FL 33463 and Mark Rickard, P.O. Box 16207, Plantation, FL 33318 and

the U.S. Trustee’s Office, 51 SW 1st Ave., Room 1204, Miami, FL 33130 on this 21th day of

December, 2015.



                                                            By: /s/ Sonya L. Salkin, Trustee

                                                            Sonya L. Salkin, Trustee

                                                            P.O. Box 15580

                                                            Plantation, FL 33318

                                                            (954) 423-4469
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                    Exhibit B
